Case 2:21-cv-08601-JFW-JC Document 36-1 Filed 02/01/22 Page 1 of 8 Page ID #:198




                 Exhibit A
Case 2:21-cv-08601-JFW-JC Document 36-1 Filed 02/01/22 Page 2 of 8 Page ID #:199



   1   Mohammed O. Badwan (PHV)
   2   SULAIMAN LAW GROUP, LTD.
       2500 S. Highland Ave., Ste. 200
   3   Lombard, Illinois 60148
   4   (630) 575-8180
       mbadwan@sulaimanlaw.com
   5   Attorney for the Plaintiff
   6

   7
                          UNITED STATES DISTRICT COURT
   8                     CENTRAL DISTRICT OF CALIFORNIA
   9                           WESTERN DIVISION
  10    KAYLA M. WOOD,                          Case No. 2:21-cv-08601-JFW-JC
  11                   Plaintiff,               FIRST AMENDED COMPLAINT FOR
                                                DAMAGES
  12          v.
                                                1. VIOLATIONS OF THE FAIR DEBT
  13                                            COLLECTION PRACTICES ACT, 15
                                                U.S.C. §1692 ET SEQ.;
  14    IQ DATA INTERNATIONAL,
        INC.,
  15
                    Defendant.
  16

  17
                              FIRST AMEDNED COMPLAINT
  18
             NOW COMES KAYLA M. WOOD (“Plaintiff”), by and through her
  19

  20   undersigned counsel, complaining of the Defendant, IQ DATA INTERNATIONAL,
  21
       INC. (“Defendant”), as follows:
  22
                                    NATURE OF THE ACTION
  23

  24         1.    Plaintiff brings this action seeking redress for violations of the Fair Debt
  25
       Collection Practices Act (“FDCPA”), 15 U.S.C. §1692 et seq.
  26
                                 JURISDICTION AND VENUE
  27

  28
                                                  1
Case 2:21-cv-08601-JFW-JC Document 36-1 Filed 02/01/22 Page 3 of 8 Page ID #:200



   1          2.     Subject matter jurisdiction is conferred upon this Court pursuant to 28
   2
       U.S.C. §§1331 and 1337, as the action arises under the laws of the United States.
   3

   4          3.       Venue is proper in this judicial district pursuant to 28 U.S.C.

   5   §1391b(2) because a substantial part of the events or omissions giving rise to
   6
       Plaintiff’s claims occurred in this judicial circuit.
   7

   8                                           PARTIES
   9          4.      Plaintiff is a natural person, over 18-years-of-age, that at all times
  10
       relevant resided in this judicial district.
  11

  12
              5.      Defendant is a debt collection firm that collects debts owed to third

  13   parties. Defendant is incorporated under the laws of the state of Washington with its
  14
       principal place of business located at 21222 30TH Drive SE Suite
  15

  16
       120 Bothell, Washington, 98021.

  17          6.     Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6)
  18
       because (1) the principal purpose of Defendant’s business is the collection of debt,
  19

  20   and (2) it regularly collects or attempts to collect debts owed or due or asserted to be

  21   owed or due another.
  22
                                    FACTUAL BACKGROUND
  23

  24          7.     Plaintiff was a resident pursuant to a housing lease at the Villa Azul

  25   housing complex located in Arroyo Grande, California.
  26
              8.     Towards the end of her residency at Villa Azul, Plaintiff provided a 30
  27

  28   day written notice indicating that she will be vacating her apartment.
                                                     2
Case 2:21-cv-08601-JFW-JC Document 36-1 Filed 02/01/22 Page 4 of 8 Page ID #:201



   1         9.      Villa Azul acknowledged Plaintiff’s 30 Day Notice and claimed that
   2
       Plaintiff owed an outstanding balance (“subject debt”).
   3

   4         10.     The subject debt is a “consumer debt” because it was incurred for

   5   personal or family purposes.
   6
             11.     In May 2020, Plaintiff moved out of the apartment and canceled all
   7

   8   utilities in her name.
   9         12.     Sometime thereafter, Villa Azul placed the subject debt with Defendant.
  10
             13.     On September 27, 2021, Defendant sent a correspondence to Plaintiff
  11

  12   attempting to collect the subject debt (“Defendant’s Letter”).
  13         14.     Defendant’s Letter is a “communication” as defined by 15 U.S.C. §
  14
       1692a(2).
  15

  16         15.     Defendant’s Letter falsely represented that the balance of the subject
  17   debt was $3,227.57.
  18
             16.     The amount of the debt asserted in Defendant’s Letter was grossly
  19

  20   overstated.
  21
             17.     Specifically, the remaining balance should have been approximately
  22
       $600 as Villa Azul was required to apply Plaintiff’s security deposit toward the
  23

  24   alleged debt but failed to do so.
  25
             18.     On September 30, 2021, Plaintiff sent an email to Defendant that
  26
       disputed the amount of the debt and provided a detailed explanation as to the reason
  27

  28   the amount asserted by Defendant was overstated.
                                                  3
Case 2:21-cv-08601-JFW-JC Document 36-1 Filed 02/01/22 Page 5 of 8 Page ID #:202



   1         19.    Shortly after receiving Defendant’s Letter, Plaintiff discovered that
   2
       Defendant was reporting the subject debt to the credit bureaus.
   3

   4         20.    Notably, the amount that Defendant credit reported to the credit bureaus

   5   was $3,284.00, which was greater than the amount stated in Defendant’s Letter.
   6
             21.    Defendant’s credit reporting of the subject debt decreased Plaintiff’s
   7

   8   credit score by nearly 100 points.
   9         22.    Plaintiff repeatedly contacted Defendant about the inflated amount that
  10
       Defendant was attempting to collect and requested proof that the balance that
  11

  12   Defendant was asserting was accurate.
  13         23.    Despite Plaintiff’s repeated requests for verification of the balance
  14
       asserted by Defendant, Defendant refused to provide Plaintiff with any proof relating
  15

  16   to the balance of the subject debt and instead continued its efforts to collect the
  17   inflated amount.
  18
             24.    During one call with Defendant, Defendant advised Plaintiff that her
  19

  20   credit will be ruined for 7 years if Plaintiff did not pay the inflated amount.
  21
             25.    Defendant’s conduct as set forth herein caused Plaintiff damages,
  22
       including: a reduced credit score, decreased credit worthiness, frustrating Plaintiff’s
  23

  24   ability to obtain credit, emotional distress, and fear that Plaintiff would be sued for
  25
       the overstated amount.
  26
             26.    Due to Defendant’s failure to address Plaintiff’s disputes regarding the
  27

  28   amount of the debt, continued collection of the overstated amount, and continued
                                                   4
Case 2:21-cv-08601-JFW-JC Document 36-1 Filed 02/01/22 Page 6 of 8 Page ID #:203



   1   false credit reporting, Plaintiff retained counsel to enforce her rights and compel
   2
       Defendant to cease its inaccurate credit reporting and pursuit of an inflated amount.
   3

   4           COUNT I – VIOLATIONS OF THE FAIR DEBT COLLECTION
                                PRACTICES ACT
   5

   6         27.    Plaintiff incorporates the preceding Paragraphs as fully set forth herein.

   7         28.    Plaintiff is a “consumer” as defined by FDCPA §1692a(3).
   8
             29.    The subject debt is a “debt” as defined by FDCPA §1692a(5) as it arises
   9

  10   out of a transaction due or asserted to be owed or due to another for personal, family,
  11   or household purposes.
  12
                                  Violation of 15 U.S.C. § 1692e
  13

  14
             30.    Section 1692e provides:
  15

  16                A debt collector may not use any false, deceptive, or misleading
                    representation or means in connection with the collection of any
  17                debt. Without limiting the general application of the foregoing,
  18                the following conduct is a violation of this section.

  19                (2)   The false representation of –
  20
                          (A)     the character, amount, or legal status of any debt.
  21
                    (8) Communicating or threatening to communicate to any
  22                person credit information which is known or which should be
                    known to be false, including the failure to communicate that a
  23                disputed debt is disputed.
  24                (10) The use of any false representation or deceptive means to
                    collect or attempt to collect any debt or to obtain information
  25                concerning a consumer.
  26

  27

  28
                                                  5
Case 2:21-cv-08601-JFW-JC Document 36-1 Filed 02/01/22 Page 7 of 8 Page ID #:204



   1         31.    Defendant violated 15 U.S.C. §§ 1692e(2)(A) and (10) by falsely
   2
       representing the balance of the subject debt.
   3

   4         32.    As set forth above, the amount of the debt that Defendant attempted to

   5   collect from Plaintiff was significantly overstated and was therefore false.
   6
             33.    Defendant violated 15 U.S.C. § 1692e(8) by communicating false
   7

   8   information regarding the subject debt to the credit bureaus. Specifically, Defendant
   9   falsely communicated an inflated balance to the credit bureaus.
  10

  11                                 Violations of 15 U.S.C. 1692g
  12
             34.    Section 1692g(b) provides, in pertinent part:
  13

  14         If the consumer notifies the debt collector in writing within the thirty-day
             period described in [§1692g(a)] that the debt, or any portion thereof, is
  15         disputed, or that the consumer requests the name and address of the original
  16         creditor, the debt collector shall cease collection of the debt, or any disputed
             portion thereof, until the debt collector obtains verification of the debt…….
  17

  18
             35.    As set forth above, Plaintiff sent a dispute email to Defendant disputing

  19   the subject debt and requesting validation of the same.
  20
             36.    Defendant violated 15 U.S.C. § 1692g(b) by continuing its efforts to
  21

  22   collect the subject debt after Plaintiff requested validation of the subject debt and

  23   before the subject debt was validated.
  24
             37.    As a result of Defendant’s conduct, Plaintiff was forced to submit to
  25

  26   continued harassing collection activity relating to a disputed debt.

  27

  28
                                                  6
Case 2:21-cv-08601-JFW-JC Document 36-1 Filed 02/01/22 Page 8 of 8 Page ID #:205



   1         WHEREFORE, Plaintiff requests the following relief:
   2
             A.    a finding that Defendant violated the FDCPA;
   3

   4         B.    an award of any actual damages sustained by Plaintiff as a result of

   5         Defendant’s violations of the FDCPA;
   6
             C.    an award of such additional damages, as the Court may allow, but not
   7

   8         exceeding $1,000.00;
   9         D.    an award of attorney’s fees and costs; and
  10
             E.    an award of such other relief as this Court deems just and proper,
  11

  12
                                DEMAND FOR JURY TRIAL
  13

  14         Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury.

  15

  16   Dated:                                         Respectfully submitted,
  17

  18                                                  /s/ Mohammed O. Badwan
  19                                                  Mohammed O. Badwan (PHV)
                                                      Counsel for Plaintiff
  20                                                  Sulaiman Law Group, Ltd.
  21                                                  2500 S. Highland Ave., Ste. 200
                                                      Lombard, IL 60148
  22                                                  Phone (630)575-8180
  23                                                  mbadwan@sulaimanlaw.com
                                                      Attorney for the Plaintiff
  24

  25

  26

  27

  28
                                                  7
